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_ General Order #65
Harrison County Sheriff's Department

Oct 1,2002
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I. PURPOSE

The purpose of this order is te establish the policy for managing and
staffing the Professional Standards Unit of the Harrison Coanty
Sheriff's Department. This policy will outline the procedures for
investigating complaints of misconduct.

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e Payne, Jr, Sheriff

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2. SCOPE
This policy is directed to all department personnel.
3. POLICY

The Harrison County Sheriff's Department Professional Standards
Unit shall be responsible for conducting internal administrative
investigations and applicant background development.

This policy shall define the methods of investigation and discipline in
order to ensure the protection of employees’ rights through the
conscientious investigation and ultimate disposition of each inquiry.
This pelicy shall ensure the integrity of the department by establishing
procedures that provide an investigation of any matter that might affect
the efficient, professional operation of the department, and mandated
compliance with all general orders.

A. Internal Investigations Authority

Internal inquiries and investigations are performed under the
authority of the Sheriff. The Professional Standards Unit shall have
the primary responsibility of investigating complaints of alleged
employee misconduct. The Professional Standards Unit will operate
under the supervision and direction of the Sheriff. Al orders
written or verbal issued in connection with any internal
investigation shall be considered as direct orders from the Sheriff.
The final authority to exonerate, declare unfounded, not sustained,
or to sustain any complaint rests solely with the Sheriff. Internal
inquiries are administrative and sheuld not be construed as
criminal investigations,

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B.

Disciplinary Review

Members of the Professional Standards Unit may be required to
atiend Disciplinary Review Hearings subsequent to internal
investigations. The sole purpose will be to provide the facts and
circumstances surrounding the respective cases.

Civil Service Meetings

A representative of the Professional Standards Unit may be
requested to attend regular or special civil service meetings for
providing insight on disciplinary actions occurring inside the
department. The representative’s responsibility is solely to inform
the Civil Service Commissioners of results of particular
investigations.

PSU Area of Investigative Responsibility

The Professional Standards Unit will investigate serious or sensitive
allegations of misconduct and incidents resulting in actual or
potential litigation against the county, the Sheriffs Department
or employees of the Sheriffs Department, Any such investigation
shall be performed under the guidelines of appropriate county
policies and Mississippi Statutes.

Lepal Action

The Professional Standards Unit may investigate any pending legal action |

against the department or it’s employees. Upon receipt of such information,
a case file will be established which will contain all pertinent information
on the action and any request for information.

E.

Shift Supervisor Area of Responsibility

The appropriate immediate supervisor will investigate complaints
of less serious violations, This assignment shall not relieve the
Professional Standards Unit from lending assistance when
requested or monitoring the investigation.

The Supervisor receiving an external complaint or filing an internal
complaint is responsible for preserving evidence to include taking
documentary photographs when practical and possible. The
Supervisor shall take photographs of complainants in all excessive
force complaints even if injuries are not visibly present,

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F. Complaints:

All external complaints will be documented on a Citizen Complaint Form.

Complaints may be received in a variety of ways including, but not
limited to: (a) in person (b) by mail (c) telephone (d) email (e) third party
Anonymous complaints are investigated, but have limitations caused by the
inaccessibility of the complainant.

Procedure for Citizen Inquiry

A citizen alleging misconduct on the part of any employee shall be
directed to the supervisor on duty regardless of the time of day, The
supervisor may be able to resolve the complaint without the assistance
of the Professional Standards Unit. Many complaints of alleged
misconduct can be handled by the Shift Commander or a supervisor,
provided it is done in a professional and timely manner. Unless the
complaint involves gross misconduct or a criminal violation, the Shift
Commander or supervisor should make every attempt to resolve the
matter without involving the Professional Standards Unit.

If the shift supervisor cannot reselve the complaint satisfactorily or there
is an allegation of a criminal nature, the shift supervisor shall complete
the Citizen Complaint Report and forward this form to the Professiona!
Standards Unit without delay.

In the event a citizen directly contacts the Professional Standards Unit
when initially registering the complaint, the Professional Standards Unit
will be responsible for referring the complaint to the affected supervisor
or completing the Citizen’s Complaint Report and other necessary
documentation.

Traffic Citations/ Arrests

Complaints relative to differences of opinion between an officer and a
citizen over the issuance of a traffic citation or regarding puilt or
innocence subsequent to an arrest, shall not be investigated by the
Professional Standards Unit, but will be properly handled by the judicial
system.

G. Use of Citizen Complaint Repert
1. Personnel receiving the complaint shall have the citizen sign the

Citizen Complaint Report in their presence. The substance of the
complaint shall be documented in the appropriate section of this form.

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2. Under no circumstances shail the Citizen Complaint Report be used
as a means to threaten, intimidate, harass or discourage a citizen
from making a complaint,

3. Should the citizen refuse to sign the complaint report, the receiving
supervisor shall complete the report and document the refusal to
sign. A memorandum concerning the allegations shall also be made.
The report shall be signed in the space provided for supervisor
receiving the complaint. The completed report shall be forwarded
to the Professional Standards Unit without delay.

Internal Complaint Procedure

In furtherance of the intent of this policy, any employee may submit a
written statement, documenting employee misconduct, directly to the
Professional Standards Unit which shall process the complaint in
accordance with this general order,

Written Counseling Form

Written Counseling Forms shall be utilized to document an employee’s
unsatisfactory performance or to document an incident involving
employees, Written Counseling Forms in some cases shail serve as a
written consultation. A copy of all the internal complaints or incidents
shall be forwarded to the Professional Standards Unit.

If the supervisor believes the complaint, either external or internal, is
of such a serious nature that it requires immediate attention, or he needs
assistance, he shall contact the Sheriff or the appropriate Director within
his chain of command, who shall determine if the complaint requires
immediate assistance or the assignment of personnel from the
Professional Standards Unit. If the appropriate Director deems that
the complaint should be investigated by the Professional Standards Unit,
the Director shail make the request to the Sheriff.

fnitial Investigation Procedures
1, Upon receipt of the documentation and approval of the Sheriff, the

Professional Standards Unit shall determine which general order(s),
policies or statutes were violated.

2. Should a formal investigation be ordered, an Initial Notice of Inquiry
Report shall be drafted and forwarded to the affected employee
through the chain of command, except under the following
circumstances:

(a) The alleged violation is ongoing.
(b) The investigation possibly would be compromised by the release
of the information.

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3. Garrity warnings shall be given to employees and signed prior to all
formal interviews whereby the possibility of criminal conduct may
be alleged. When there is no criminal conduct alleged, employees
interviewed by the Professional Standards Unit will be advised of
the authority of the investigation as well as requirements of complete
truthfulness and candor. This will be documented on an audio
recording tape.

K. Classification of Allegations

The Professional Standards Unit investigator shail, in the Internal
Investigative Report, recommend I of the following 5 classifications:

1, Unfounded- the allegation is false or not factual.
2. Exonerated- the incident occurred, bat was lawful and proper.

3. Not Sustained- there was insufficient evidence to prove or disprove
the allegation.

4. Sustained- the allegation is supperted by a preponderance of evidence
to justify a reasonable conclusion that the incident did occur.

5. Policy Failure- the policy was not specific or did not cover this
incident.

L. Internal Investigations

i. Internal Complaints will be assigned an IA# by the Professional
Standards Unit OIC,

2. The complaint will then be assigned to a Professional Standards Unit
Investigator by the OIC.

Each internal investigative report will contain:

1. The general order(s) violated, .

2. The details in chronological order, addressing each point of
accusation.

3. A synopsis of each witness statement.

4. Mitigating circumstances, if appropriate.

5. Recommended classification of the allegations

M. Case File Preparation:

Unless special circumstances occur, all internal investigations must be
completed within thirty days. An extension may be given by the
Professional Standards Unit OIC or the Sheriff

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Each case file and report will contain the site or copies of the general
orders violaied. In addition, each case file will include letters and memos
relevant to the investigation. All reports must include an investigator’s
finding and conclusions, Findings and conclusions should be a summary ~
listing of relevant conclusions drawn by the investigator based on facts
and circumstances of the investigation and a recommended classification
of the allegations shall be provided by the Investigator. The Professional
Standards Unit shall not make any recommendations regarding
disciplinary action. All Garrity statements, including audio or video
tapes of such interviews, must be filed separately from the investigative
file in an envelope marked “Garrity statement” and filed accordingly.

N. Dispositions
i. Informal Personnel Actions- Actions documented on a Written

Counseling Form shall be processed by forwarding a copy of the
Written Counseling Form to the Professional Standards Unit for record.

2. Formal Discipline- A copy of the Formal Discipline Report, (letter
of suspension, termination, etc.) shall be maintained in the affected
employee’s personnel file as defined in the department General
Orders and a copy to be maintained in the Professional Standards
Unit file. ~

QO, Corrective Actions

1. Informal Personne! Action- When practical informal actions should
be positive and educational rather than punitive in nature, The
employee’s immediate supervisor will complete all informal personnel
actions.

2. Formal Discipline- Censtrued to be punitive in nature. It includes,
but shall not be limited to:

{a) Written Reprimand
(b) Demotion

(c) Suspension

{d) Termination

P. Procedural Due Process

I. Prior to awarding any level of informal personnel action or formal
discipline, the recommending authority may contact the Prefessional
Standards Unit in order to determine the record of the offending
employee and the consistent level of personnel action or discipline
for the violation.

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2. Required Actions- The following steps will be taken to ensure due
process:

(a) The employee must be informed of the charge(s) against him/her,

(b) The employee must be given an explanation of the evidence
underlying the charge(s).

{c) The employee must have the opportunity to respond to the
charge(s).

(d) All notices and hearings must be done ina meaningful time and
a meaningful fashion.

If the internal investigation classifies the case as either exonerated, not
sustained, unfounded or policy failure, the employee(s) involved will
receive a letter of disposition.

Q. Reviews, Appeals and Grievances

All appeals and grievances shall follow procedures herein and established
by the Harrison County Civil Service Commission and Department
Policy. The Sheriff and all Division OIC personnel may review all
informal and formal personnel actions,

Obstruction of Internal Investigation

No employee shall by writing, speaking, utterance or any other means
commit an act which would hinder or obstruct an authorized internal
investigation by the Harrison County Sheriff's Department.
Confidentiality of Investigations

All complaints and complaint investigations will be confidential and
will not be discussed within or outside the department without approval
of the Sheriff or his designee.

Unauthorized Internal Investigation

No employee shall initiate, conduct, or otherwise participate in any
unauthorized investigation.

Other Administrative Investigations

Officer Involved Shootings

The Harrison County District Attorney’s Office shall be responsible
for conducting an independent investigation of all shootings involving
officers of the Harrison County Sheriff's Department. The Sheriff may
request other independent investigations by the Mississippi Highway
Safety Patrol or other law enforcement agencies. The Harrison County
Sheriff's Department Professional Standards Unit will conduct all
internal investigations.

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Backpround Investigations

Background investigations of applicants including sworn, non-sworn
and reserves, will be conducted by the Professional Standards Unit. A
background investigation by the Professional Standards Unit may be
requested by any Director when the Director is informed of a need to
begin the hiring process of applicants. The PSU investigator will be
given a checklist of needed information, and the items on the list will be
noted as to time and date of completion. Upon completion of the
investigation the application will be returned to the personnel officer
with a cover sheet indicating whether or net the applicant passed the
background process. In addition, a copy of the cover sheet will be
forwarded to the Sheriff and the affected Director. Without the approval
of the Sheriff, applicants shall not be offered employment until after a
satisfactory background investigation has been completed and it is
determined that the candidate is suitable for the position which he/she

has applied.

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General Order #62
Harrison County Sheriff's Department
4, 2004

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~ beorge paynd Jr., Sheriff

EMPLOYEE DISCIPLINE

1. SCOPE

All employees of the Harrison County Sheriff's Department (full or
part time) are subject to the provisions of this policy.

2, POLICY

It is the policy of the Harrison County Sheriff's Department that its
employees serve the Citizens of Harrison County effectively and
efficiently. In accordance with this policy, the actions of the employee’s
of the Sheriff's Department shall comply with departmental polices,
rules and procedures. The failure of an employee to perform their
duties in a satisfactory manner shall be cause for disciplinary or other
corrective action. The Harrison County Sheriff and appropriate
supervisors will administer this policy.

3. DISCIPLINARY REVIEW BOARD

The Disciplinary Review is sanctioned under the authority of the
Sheriff. In the absence of the Sheriff his designee shall assume the role
as appointing authority.

1) Board Members
a) Operations Major — Board Member
b) Administration Major ~ Board Member
e) Corrections Major — Board Member
d) Academy Major — Board Member

2) Duties and Responsibilities
a) Upon the request of any Division Director or the Sheriff,
the Disciplinary Review Board will convene to hear formal
charges against an employee of the Harrison County
Sheriff's Department. The Sheriff or in his absence, his
designee must approve all Disciplinary Review Boards.

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b) Prior to awarding any formal sanctions against an
employee, the Disciplinary Review Board will convene to
hear the charges against the employee. The employee will
be given the opportunity to respond orally or in writing to
the charges.

ce) The Chairman of the Review Board will be the Major in
charge of the Department in which the employee works
that is appearing before the board.

d) The Major and at least two members must be present to
convene the Board. The Sheriff or his duly appointed
designee may appoint a temporary Board member to hear
a case. The temporary Board member must have the rank
of Captain or above to serve on the Board.

e) After hearing the employee’s response to the charges, the
Major who is acting Chairman or a dully appointed
designee will forward the Disciplinary Review Board’s
recommendation to the Sheriff.

3) Classification of Allegations

The Major who is acting Chairman or a duly appointed designee
Shall recommend one of the following four classifications:

(a) Unfounded — the allegation is false or not
factual.

(b) Exonerated — the incident occurred, but was
lawful and proper.

(c) Not sustained — there was insufficient evidence
to prove or disprove the allegation.

(d) Sustained — the allegation is supported by a
preponderance of evidence to justify a
reasonable conclusion that the incident did
occur.

4) Corrective Actions

If formal] disciplinary action is warranted, the Disciplinary Review
board will make one of the following recommendations:

(a) Written Reprimand
(b) Demotion

(c) Suspension

(d) Termination

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5) Final Determination

The Sheriff will review the charges and the recommendations of
the Disciplinary Review Board. The Sheriff or in his absence the
appropriate Major will make the fina] determination of what, if

any, disciplinary action will be taken.

6) Appeal

All disciplinary actions awarded by the Sheriff, with the exception
of letters of reprimand, can be appealed to the Civil Service
Commission.

D. Documentation and Removal of Disciplinary Action

Documentation of disciplinary actions including suspension,
demotion, or dismissal will remain in the employees’ personnel
file indefinitely. Letters of reprimand, however, may be
removed and expunged by the Sheriff upon the request of the
employee.

Letters of reprimand must remain in the employees’ personnel
file for a minimum of twelve months. An employee may
petition the Sheriff to have a letter of reprimand removed from
his/her personnel file. If the Sheriff approves the removal of
the letter of reprimand, the letter will be expunged from the
personnel file.

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General Order #44
Harrison County Sheriff's Department
5, 2002

CORRECTIVE MEASURES
1. SCOPE:
This policy is directed to all employees of the Harrison County Sheriffs
Department.
2. PURPOSE:

The purpose of the General Order is to establish a uniform and
incremental system of corrective measures. The primary intent is to
maintain good order and structure within the department.

It is imperative for each employee to obey established regulations and
exercise sound judgment at all times. It is the responsibility of each
supervisor to maintain the proper discipline among his/her
subordinates,

3. POLICY STATEMENT:

Harrison County Sheriff's Department policy is that all corrective
measures be administered at the lowest level of supervision with the
least severe actions warranted by the seriousness of the infraction,

4. TYPES OF CORRECTIVE ACTION:

A supervisor may consider any two actions of equal or greater severity
administered to an employee as constituting a trend of irresponsible
or incompetent behavior. Any subsequent behavior or problems may
be dealt with by more severe measures.

The following types of corrective actions are listed from the least severe
to the most severe:

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A. Verbal Counseling:

Supervisors are obligated to make every effort to resolve minor
problems as soon as possible. Private, person-to-person, counseling
sessions should be used to avert more serious future problems.

1.

The following list is not to be inclusive, but provides examples
of instances when this type of corrective action may be used:

(a) Minor violations of departmental general orders or
policies not resulting in injury or monetary loss to the
county.

(b) Minor lapses in operational efficiency.

(c) Poor performance that appears to be the result of a training
issue ora misunderstanding of departmental regulations or
policies,

A Supervisor may consider a series of two counseling measures
as a trend of irresponsible or incompetent behavior by the
employee. The third counseling session should be dealt with a
more serious measure.

B. Formal! Written Counseling:

When an employee appears to be unreceptive to verbal corrections,
the discrepancy should be fully documented on a Written
Counseling Form.

1.

The following list is not to be considered all-inclusive but
provides examples of instances when this type of corrective
action may be used:

(a) The third verbal counseling violation of department
regulations or policies not resulting in injury or monetary
loss to the county.

(b) Lapses in operational efficiency considered by the
supervisor to be serious enough to warrant documentation.

(c) Unreceptive behavior regarding training and/or constructive
criticism from a supervisor or an appointed trainer.

(d) Failure te comply with a lawful order from a higher
ranking employee.

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2. Aseries of two Formal Written Counselings may be considered
by a supervisor as constituting a trend or irresponsible or
incompetent behavior serious enough to warrant the use of a
more severe corrective measure.

C. Letter of Reprimand:

A written reprimand may be a part of a continuing pattern of
corrective measure or may be used as the initial action depending
on the circumstance.

1. The following list is not to be considered all-inclusive but
provides examples of instances when a Letter of Reprimand
will be used in a continuing pattern of corrective measures.

(a) Violation of departmental general orders or policies not
resulting in injury or monetary loss to the county, which
the supervisor believes will not be corrected with a Formal
Written Counseling.

(b) Lapses in operational efficiency such as inefficiency in
responding to calls, report problems, and tardiness.

(c) Unreceptive behavior towards a supervisor and/or an
appointed trainer regarding training and/or constructive
criticism.

(d) Failure to comply with a lawful order from a higher
ranking employee.

(e) When the employee fails to make a good faith effort to
adhere to previous corrective measures.

2. The following list contains examples of instances when a Letter
of Reprimand may be used as an initial corrective measure:

(a) An act or omission that results in the injury or creates a
serious potential for an injury.

(b) An act or omission that results in monetary loss to the
county as a result of damage to county property and/or
damage to private property when the county is liable.

(c) An act that is detrimental te the good order and/or
discipline of the department.

(d) Failure to comply with a lawful order from a higher
ranking employee.

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Examples:

(1) Knowingly disobeying the order of a higher- ranking employee,

(2) Public criticism of supervisors, co-workers, citizens, or any
part of the county administration.

(3) Encouraging others to disregard the integrity of department
regulations, policies, and orders.

3. A series of two Letters of Reprimand may be considered bya
supervisor as constituting a trend of irresponsible or incompetent
behavior serious enough to warrant the use of a more severe measure,

D. SUSPENSIONS:

Whenever a continuous pattern of performance/conduct has not
improved, or is unlikely to improve, a suspension not to exceed thirty
days may be implemented if an employee commits a violation of
department policy and/or exhibits conduct that has a detrimental
impact upon the maintenance of good order and discipline within the
department.

1. The following list is not considered as all inclusive, but provides
examples of instances that suspension may be used in a continuing
pattern of corrective measures: ,

(a) Infractions of departmental general orders or policies, not
resulting in injury or monetary loss to the county.

(b) Lapses in operational efficiency.

(c) Unreceptive behavior towards a supervisor and/or an
appointed trainer regarding constructive criticism and/or
training, ,

(d) Failure to comply with a lawful order from a higher ranking
employee,

(e) Failure to make a good faith effort to adhere to the corrective
measures stipulated in any of the previously corrective actions. -

2. The following list contains examples or instances when a
suspension may be used as an initial corrective measure. Acts
that are seriously detrimental to the good order and discipline of
the department including, but not limited to, the following:

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(a) An act or omission that results in injuries or creates a
potential for injuries,

(b) An unsafe act or admission that results in the monetary loss to
the county through damage to county property and/or damage
to private Property when the county incurs the liability.

(c) Defiance ofa higher-ranking employee.

(d) Under the influence of alcohol, stimulants, depressants, or any
other substance while on duty that can alter the ability to reason
and/or function in a crisis situation.

(e) Failure to comply with a lawful order from a higher ranking
employee.

(f) Physical or psychological abuse of any employee or citizen.

(g) Any force that exceeds the amount necessary to bring a person
under contro] effectively,

(h) Refusal or failure to respond to a call for service or situation,

(i) Refusal or failure to provide back up or assistance for a fellow
employee in a hazardous or a potential hazardous situation.

Gj) Making a false official statement.
3. A supervisor may consider a series of two Suspensions as

constituting a trend of irresponsible or incompetent behavior
Serious enough to warrant the use of a more severe measure.

E. DEMOTIONS:

Demotions in rank are 4 grave matter and should be implemented
only after careful and deliberate consideration of the existing
circumstances, The Situations listed below are examples of instances
in which demotion may be appropriate:

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1, The following list is net to be considered all-inclusive, examples of
instances in which demotion may be used in a continuing pattern
of corrective measures:

(a) Infractions of departmental general order policies which do
not result in injury or monetary Joss to the county, but which
do interfere with the maintenance of an efficient, superior
subordinate relationship within the department.

(b) Lapses in operational efficiency.

(c) Failure to cooperate with a training instructor directed by
higher authority, and/or unreceptive to training or constructive
criticism by a higher-ranking employee after other corrective
measures have been administered.

(d) Failure to make a good faith effort to adhere to previous
corrective measures.

(c) Failure to comply with a lawful order from a higher ranking
employee.

(f) Acts, which have the potential of being detrimental to the good
order and discipline of the department.

2. The following list is not to be considered all-inclusive, but provides
examples of instances in which instances may be used as an initial
corrective measure:

(a) A knowing and willful unsafe act or omission which results in
injuries to departmental employees or other citizens, or which
creates the potential for injuries.

(b) A knowing and willful act, which results in the county
incurring monetary loss or liability as a result of damage to
county or private property. ,

(c) Defiance toward a supervisor who is acting in an official
capacity.

(d) Under the influence of alcohol, stimulates, depressants, or any
other substance while on duty that alters the individual’s ability
to reason and/or function in a crisis situation.

(c) Failure to comply with a lawful order from a higher ranking
employee.

(f) Physical or psychological abuse of another employee.

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(g) Refusal or failure to respond to a police call and/or a request
for assistance by another officer in a potentially hazardous
situation,

(h) Making a false official statement regarding any incident.

(i) Advising or encouraging any other employee to disobey or
evade a department general order or policy.

F. DISMISSAL:

This is the ultimate Corrective Measure to behavior/performance
problems and should be taken as a last resort.

Dismissal from employment is a grave matter and should be carefully
and thoughtfully considered. The situations listed below are examples
of instances in which dismissal is appropriate:

1. The following list is not considered all inclusive but provides the
instances in which dismissal may be used as the final act ina
continuing pattern of corrective measures: “

(a) Minor infractions of departmental regulations and policies after
other corrective measures have been administered without
significant improvement in the overall performance/conduct.

(b) Lapses in operational efficiency after other corrective measures
have been administered without significant improvement in the
overall performance/conduct.

(c}) Unreceptive to training and/or failure to cooperate with a
training instructor or training program after a less sever
corrective measure has been administered without significant
improvement in overall performance/conduct.

(d) Failure to comply with a lawful order from a higher ranking
employee,

(e) Failures to make a good faith effort to correct overall
behavior/performance problems after less severe corrective
measures have been administered.

(f) Disruptive influence to the good order and discipline of the
department,

(g) Under the influence of alcohol or any other substance while on
duty generally known to alter an individual’s ability to reason or
function in a normal manner.

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(g) Under the influence of alcohol or any other substance while on
duty generally known to alter an individual’s ability to reason or
function in a normal manner.

(h) Brutality toward citizens, prisoners or co-workers,

(i) Knowingly and willingly using a firearm in violation of
departmental general order/policy.

(j) Falsifying a statement(s) on the employee’s application.

(k) Accepting money, goods, or services in exchange for protecting
illicit operations or granting any special considerations to any
person(s),

(I) Willful disobedience of orders.
5. Who Will Administer Corrective Measures:

Any supervising employee can initiate corrective measures but a
supervisor in the employee’s chain of command should implement
the process. Unless special circumstances exist, the employee’s
immediate supervisor will implement the corrective measure
process,

6. The Corrective Measure Process:

The initiating supervisor will prepare a Notification of Intent form
by listing the details of the act or omission. This form will be
forwarded to the employee’s immediate supervisor at which time,
the implementation process will begin.

The immediate supervisor will explain to the employee in private
the reasons for the corrective measure. The employee will be
advised of his/her rights to appeal the corrective measure.

A. Appeal Process:

1. The employee will sign the Notification of Intent form to
acknowledge notification of the corrective measure. The
employee will indicate if he/she desires to appeal the measure
to a higher level.

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2. When an employee indicates he/she wants to appeal the
measure, all original paperwork (notification form and any
documentation that Supports the measure) will be forwarded
to the employee’s next level of supervision for review. This
process will continue until the employee acknowledges
acceptance of the measure by annotating it on the form or
continues the appeal process to the Sheriff. The Sheriff must
approve all suspension, demotion, and dismissal measures,

3. Ifthe Sheriff agrees with the measure, any employee holding
permanent civil service status may request a Civil Service
hearing for the purpose of investigating the appropriateness
of such action. Such hearing will be conducted in accordance
with Civil Service regulations. It is the employee's
responsibility to adhere to the Civil Service Commission’s
appeal procedures,

B. Acceptance Process:

If the employee decides not to appeal the measure, the notification
form will be attached to the corrective measure paperwork. These
documents will be forwarded to the Division Major by means of the
employee’s chain of command.

1. The Division Major will review the information and determine if
the measure is appropriate. The decision will be documented on
the form at which time the form will be returned to the
implementing supervisor. If the measure is a suspension,
demotion, ora dismissal, the Division Major will inform the
employee regarding the details of the measure,

2. If the Division Major does not agree with the measure listed,
he/she can alter it as he/she sees fit. The Division Major
will meet with the implementing supervisor who forwarded the
form to him/her and review the changes to the measure. The
implementing supervisor will need to meet with the employee
in private to explain the changes. Due to the changes of the
measures, the employee is allowed to change his/her decision
to appeal the measures if the eniployee desires.

3. The Sheriff will direct the creation of a personnel order
regarding corrective measures when orders are necessary,

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7. Disposition of Records:

The original personnel order and all supporting documents will be
filed in the employee’s personnel file. A copy of the personnel order
will be filed in the employee’s performance file by the implementing
supervisor.

8. Implications of a Corrective Measure:

A. All Verbal Counseling Measures will remain in an employee’s
performance file for a period of three months. If no additional
measures have been implemented during this period, the corrective
measure will not affect the employee for considerations of
promotion, special unit transfer, chain-of-status, or any other
career orientated personnel action.

B. All Formal Written Counseling Measures will remain in an
employee’s performance file for a period of six months. If no
additional measures are implemented during this period, the
measure will not affect the employee for consideration of
promotion, special unit transfer, chain-of- status, or any other
career orientated personnel action.

C. All Letter of Reprimand Measures will remain in an employee’s
performance file for a period of one year. If no additional measures
are implemented during this period, the measure will not affect
the employee for consideration of promotion, special unit transfer,
chain-of-status, or any other career orientated personnel action.

D. All Suspension Measures will remain permanently in an
employee’s personnel file and performance file. During a one-
year period immediately following the completion of a
suspension, the employee is automatically disqualified for
consideration of promotion, special unit, transfers, chain-of-
status, or any other career oriented personnel actions.

An employee who receives a suspension measure should honor
the measure by missing work. But, the Sheriff has the option to
allow an employee to use accrued annual leave or compensation
time.

E. All Demotion Measures will remain permanently in an
employee’s personnel file and performance file. The employee
will be eligible for consideration of promotion, special unit
transfer, chain-of-status, or any other career orientated personnel
actions after two years from the official demotion date,

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10.

Emergency Circumstances:

A Section Leader may relieve an employee from duty with pay in an
emergency situation without The Sheriff or Division Major approval.
An emergency situation must constitute endangering a human life.
The Section Leader will immediately contact the Division Major and
start the corrective measure process. If the Division Major is
unavailable, the Section Leader will contact the Sheriff.

Reimbursement for Damages/Monetary Loss to Harrison County:

Whenever an employee causes a monetary loss to the County due to
an act or omission, which constitutes misconduct or personal
negligence, such employee may be required to reimburse the County
for the amount of the monetary loss. Reimbursement may be used i in
conjunction with any corrective measure.

A.

The Sheriff can mandate reimbursement expenses for damages
and/or monetary loss to Harrison County as a result of the
employee’s actions. The amount of the reimbursement will be
listed on the employee’s personnel order along with the
corrective measure implemented.

- After the reimbursement has been ordered, the records relating

to such action will be filed in the employee’s personnel file and
performance file.

. The Sheriff will specify the method of reimbursement as one of

the following:

(1) The employee may make a one-time payment to be
deposited into Harrison County’s General Fund.

(2) The employee may elect to have up to six equal shares
deducted from his/her paycheck. Under special
circumstances, the Sheriff may authorize deviation from the
time restriction.

(3) The employee’s Division Major will ensure that appropriate
arrangements are made with the Payroll Office.

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HARRISON COUNTY SHERIFF’S DEPARTMENT
SUPERVISOR INFORMAL COUNSELING NOTES

Employee: Position:
Supervisor: Position:
Subject of Counseling:

Brief Description of Problem:

Brief Description of Meeting With Employee:

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HARRISON COUNTY SHERIFF’S DEPARTMENT
FORMAL WRITTEN COUNSELING

Employee: Position:

Supervisor: Position:

Subject of Counseling:

Supervisor’s Comments:

The following corrective measures are considered appropnate at
this time:

Supervisor Signature Date
Employee Comments:

Thereby acknowledge that measures are being taken against me for
the above violation. I consider this measure to be inlot appropriate

and I (desire an interview with the next supervisor in the chain-of-
command.

Employee Signature Date

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HARRISON COUNTY SHERIFF'S DEPARTMENT
NOTIFICATION OF INTENT TO INITIATE

CORRECTIVE MEASURES
Employee: Position:
Initiating Supervisor: Position:

Supervisor’s Comments:

Lam hereby recommending the following corrective measures:

If you consider this measure inappropriate and it is upheld
throughout the chain-of-command, you have the right to a hearing
before a Board of Inquiry and such board will be convened at your
request.

Supervisor Signature Date
Employce’s Comments:

Thereby acknowledge that measures are being taken against me for
the above listed violation. I consider this measure

UO Appropriate LI Not Appropriate
If the measure is upheld throughout the chain-of-command, I
LJ Desire LI Do Not Desire

a hearing before the Board of Inquiry.

Employee Signature Date

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IMMEDIATE SUPERVISOR COMMENTS:

L] I concur with the proposed measure.

U I do not concur with the proposed measure.
Recommendations and comments are attached.

Signature Date

SECTION SUPERVISOR COMMENTS:
LI I concur with the proposed measure.

L) I do not concur with the proposed measure.
Recommendations and comments are attached.

Signature Date

DIVISION MAJOR COMMENTS:
LU I concur with the proposed measure.

(} > Ido not concur with the proposed measure.
Recommendations and comments are attached.

Signature Date

SHERIFF COMMENTS:
(J I concur with the proposed measure.

LJ I do not concur with the proposed measure.
Recommendations and comments are attached.

Signature Date

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_ Harrison County Adult Detention Center
Policy & Procedures. Directives

INMATE GRIEVANCE

POLICY: __Itis the policy of the Harrison County Adult Detention Center to

provide to the inmates housed in it’s facilities an internal grievance

mechanism for the resolution of complaints arising from institutional

matters. The intent is to reduce the need for litigation and afford the
: staff an opportunity to improve jail operations.

PROCEDURE:.

I.

Il.

GENERAL INFORMATION

The Security Captain may appoint a Corrections Officer to fulfill the duties of the
Grievance Officer who will be responsible for investigating and responding to all
grievances. Shift Supervisors may also be charged with answering.grievances.

' All Corrections Officers, or other employees who. receive a grievance must

attempt to resolve the issue raised on the grievance. if it falls within the
responsibilities of his or. her job description. |

The grievance should state clearly the time, date, and names of all. parties
involved with all pertinent details of the incident or complaint.

Should a grievance make accusation of questionable acts or impropriety on the

part of a Corrections Staff Member, the grievance will be forwarded to the
Security Captain. A written response to. the, inmate will be. made within ten
working days of receipt of the grievance.

FILING

An inmate may file a grievance at any time to bring a problem to the attention of

the staff or to appeal a specific action. An inmate may file only for him/herself,

although an inmate may assist another inmate in filing. Only one grievance may
be filled out at a time on any one single incident or item of concern. An inmate
may withdraw a grievance at any time. No staff member will retaliate against an
inmate for filing or withdrawing a grievance. . .

EXHIBIT

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IIL, BASIS FOR GRIEVANCES

mes 7 gtievance may be filed for any one of the following reasons: Sow
- 1. Lost property
2. Staff conduct
3. Conditions/confinement
4. Policy/procedures. :
* 5. Incidents:
~ 6.-Reprisals’
7. Mail’ --,
8. Discipline/classifi ication
Only issues regarding activities within the facility can be addressed in the grievance.
procedure. Disciplinary actions have an appeal process and are not addressed in the -
grievance procedure. Issues relating to the Courts, Attorneys, and other issues over
which the Harrison County Adult Detention Center has no‘contro! cannot be addressed
in the grievance procedure. A grievance filed concerning any of these issues will be
returned to the inmate with an explanation as to why it was returned.
IV. REVIEW
If an inmate registers a complaint against a staff member, that employee shall not play . 4

a part im making a decision on the request. However, this shall not: prevent the

employee from being questioned or providing | ‘a narrative concerning the incident.

V.

VI.

GRIEVANCE CLASSIFICATION

A grievance will be classified as either an informal, standard, or emergency
grievance. —

‘Informal Grievance - ‘may be resolved by staff at any level without the
complete processing of a formal grievance.

Standard Grievance — may be processed through normal channels because
there is not an immediate threat to the welfare or safety of an inmate.

‘Emergency Grievance — must be processed expeditiously because there
-appears to be an immediate threat to the welfare of an inmate. —

INFORMAL GRIEVANCE

An inmate may verbally submit a grievance to any Corrections Officer. When

presented with an informal grievance, the Corrections Officer may_initiate
corrective action if the actions is within the normal scope of the officers duties,

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-. the officer will advise the Shift Supervisor. The Shift supervisor will attempt to

tis

vi”

resolve the matter or have the inmate initiate a standard: grievance at their

,, discretion.

STAN DARD GRIEVANCE

An inmate may fi file a formal ¢ grievance within 30 days after a potential: grievable
event has occurred.. The inmate must submit a detailed description of the
occurrence in written form. All grievances will be forwarded to the Grievance
Officer or Security Captain by way of the request cart. Grievances sent.to the
Director of Corrections will be given to the Grievance Officer for. further. -
investigation. Once the investigation has been completed the Investigating
Officer will. notify the inmate in written form of corrective action if necessary.
The shift Supervisor may delay an investigation of a grievance until employees
who may have knowledge of the incident are on duty to respond.

“VITI. EMERGENCY GRIEVANCE

IX.

xX.

Once an emergency grievance has been submitted the officer will immediately
contact his/her Shift Supervisor. The Shift supervisor will be responsible for
determining whether the situation is in deed life threatening. In the event the .
situation appears to be life threatening the Shift Supervisor will contact the
Security Captain and corrective measures will be taken at that time.

GRIEVANCE OFFICER

The Grievance Officer will process and investigate all standard grievances. The
Grievance officer will conduct interviews with all individuals involved in order.to
verify facts. Once the investigation has been completed a written response will
be submitted to the inmate who filed the grievance, inmate file, grievance file. A
monthly report of grievances addressed will be submitted to the Security Captain
Chief of Security and the Director of Corrections.

GRIEVANCE APPEALS

An inmate may file a written appeal within 72 hours of the Grievance Officers
decision. The appeal will be forwarded to the Security Captain for review. The
Security Captain will respond to the inmate in writing regarding the outcome of
his/her appeal, additionally, a copy will be placed in the inmates file. In the
event the inmate has been released or transferred a copy will be forwarded to
their new location, where possible. A copy of the appeal will be sent to the
Director of Corrections for review.

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~XIy RECORDS.

.. Once the grievance process has been completed a complete copy of ‘all
_ - “documents (i. e., original grievance, investigation note’& final disposition) will
* SS ~be Forwarded to Record to include in the inmate’s custody fi file.

Fa maior oo, Effective Date

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SYC: KWG:WGM: BVL: kd Special Litigation Section - PHB

DY 168-41-110 950 Pennsylvania Avenne, N.W.
Washington, DC 20530

July 20, 2005

Sheriff George Payne, Jr.

Harrison County Sheriff’s Department
1801 23° Avenue

Gulfport, MS 39501

Joseph Meadows, Esq.

Meadows, Riley, Koenenn & Teel
1720 23 Ave,

Gulfport, MS 39502

Dear Sheriff Payne and Mr. Méadows:

Please find enclosed copies of our expert reports from Steve
Martin and Dr. John May resudting from our most recent inspection
of the Harrison County Adult,’ Detention Center (“HCDC”) . We were
encouraged during this last inspection with the improvements in
security operations and medical and mental health care at the
facility. In this letter, we intend to outline those issues
which, if fully resolved, would permit the parties to jointly
dismiss the outstanding Consent Judgment.

As an initial matter, we applaud the efforts of Sheriff
Payne and the Harrison County Board of Supervisors to hire and
fund increased numbers of security staff for the HCDC. At the
time of our visit, nearly the full complement of 50 additional
officers had been hired. Furthermore, HCDC officials have done
an excellent job of recruiting, hiring, and training the new
staff. As Steve Martin stated in his report, “With these 43
additional officers, coverage for all essential housing posts for
all shifts can be provided so long as the facility is managed at
or below its safe operating capacity of 760.”

Unfortunately, however, the population at the HCDC
significantly exceeds the safe operating capacity of 760
established by Sheriff Payne in March of 2001. On December 5,
2004, the HCDC jail population was 1035 with 355 inmates sleeping
on the floors in all four cell blocks. The number of inmates

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HARRISON COUNTY SHERIFF’S DEPARTMENT
PROFESSIONAL STANDARDS UNIT

ne Date of Report Date Assigned
File Name '
Inmate Joseph Towner . December 29, 2004 | December 6, 2004
Type Investigation Case Number
1A2004-29

Excessive Use of Force Allegation

On December 06, 2004, Sheriff Payne directed Captain Campbell to conduct an
investigation regarding allegations that some Corrections Officers had taken inmate
Joseph Towner to the recreation yard of B block and assaulted him. It was further
alleged that this assault took place approximately 3:00 a.m. on November 12, 2004 and
that the alleged assault was in retaliation for inmate Towner’s assault on Deputy Archer
earlier during the evening shift.

Captain Campbell received a set of reports from Sheriff Payne written by the
some of the officers involved as well as a memorandum from Captain Taylor to Major
Riley outlining the allegations made against these officers. According to the memo
written by Captam Taylor, on November 22, 2004, Captain Taylor received a phone call
at his home from a deputy who stated that during the midnight shift approximately one
week earliez, some officers had taken an inmate to the B Block exercise yard and
assaulted the inmate. Captain Taylor had leaned that Inmate Joseph Towner was the
imate who had allegedly been assaulted. On November 23, 2004, Captain Taylor
instructed Officer Geas to bring inmate Joseph Towner to Captain Taylor’s office.
According to Captain Taylor, Inmate Joseph Towner told him that several officers had
assaulted him in the exercise yard of B Block. Captain Taylor’s memo went on to state
that he instructed Officer Geas to determine if he could learn more information from
Towner regarding this assault.

Captain Taylor’s memo also stated that on November 29, 2004, FTO Martin
Lipscomb entered his office and advised him of the incident that had occurred on
November 12" regarding Inmate Towner. According to the information given to Captain
Yaylor, FTO Lipscomb stated that some of the officers planned to assault Inmate Towner
after a physical altercation Towner had with Officer Archer earlier during the evening of
November 11, 2004. In addition, FTO Lipscomb named all of the officers who were
involved in the alleged assault. Captain Campbell read the narratives written by Officers
Cox, Lipscomb, Minor, who were the officers allegedly involved in the assault. It was
also learned from the reports that Officers Branning, Brawner, and Necaise were also
involved in the alleged assault on Inmate Towner.

On December 6, 2004, Captain Campbell interviewed Deputy Jay Cox who was
working B Block, specifically B/D, during the early night shift of November 12, 2004.
Deputy Cox stated that he had learned in briefing that during the evening shift, Inmate
Joseph Towner had assaulted Officer Archer. Deputy Cox further stated that some of the

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officers decided they would take inmate Towner from his cell and put him in the exercise
yard and use scare tactics to let inmate Towner know that assaulting an officer is
unacceptable. Deputy Cox stated the plan was to yell at Towner and advise Towner that
he knew he was not to hit a deputy in the facility. Deputy Cox stated that none of the
officers present, which included Deputies Brawner, Branning, Lipscomb, Minor, and
Necaise physically assaulted, punched or kicked Towner. Deputy Cox stated the officers
put Towner on the ground and then used verbal intimidatign to get their message across.
Captain Campbell asked Deputy Cox if the actions on Towner were within Department
policy and he stated that it was not.

On December 6, 2004, Captain Campbell interviewed Deputy Jerred Necaise
regarding these allegations. Deputy Necaise stated that during briefing he learned that
Deputy Archer had been assaulted by Inmate Towner during the evening shift. Deputy
Necaise stated that several of the officers were talking about the assault and sometime
around 3:00 a.m., he went to B Block followed by Deputy Branning. He stated that in the
exercise yard of B Block was Deputy Brawner, and after he and Deputy Branning arrived
im: the exercise yard, Deputies Cox, Lipscomb and Minor came into the yard with Inmate
Joseph Towner. Deputy Necaise stated that the purpose of them bringing Inmate Towner
into the exercise yard was to let Towner know that It was unacceptable for an inmate to
attack a deputy. Deputy Necatse stated that none of the officers hit, kicked, or punched
Inmate Towner, that they yelled at him and told him he was not to assault any officers.
Captain Campbell asked Deputy Necaise why he didn’t wnite a narrative regarding the
incident and he stated he was not told to write a narrative. Captain Campbell asked
Deputy Necaise if the actions on Towner were within Department policy and he stated
thrat it was not.

On December 6, 2004, Captain Campbell interviewed FTO Martin Lipscomb
regardimg the meident of November 12, 2004. It should be noted that FTO Lipscomb had
written a narrative regarding the incident and had accused the other officers of assaulting
Inmate Towner, but stated that he did not assault Towner. It should be further noted that
FTO Lipscomb throughout his report referred to the incident with inmate Towner as the
officers assaulting the inmate; however, there was no mention in Lipscomb’s report that
any of the officers actually struck or kicked Inmate Towner. While Captain Campbell
was interviewing FTO Lipscomb, FTO Lipscomb recanted his earlier version of what had
happened earlier on November 12, 2004 and stated that none of the officers actually hit,
kicked or punched Inmate Towner. FTO Lipscomb told Captain Campbell that his
definition of an assault was any manner in which an officer would lay his hands on an
inmate, specifically pushing the inmate. FTO Lipscomb stated that as he came into the
exercise yard and that they (meaning the other officers) pushed Inmate Towner on the
deck and began to yell at him. FTO Lipscomb stated in his report that he was the one
who got all the officers to stop assaulting Inmate Towner. This is in contrast to the
statement of Deputy Jay Cox who stated that FTO Lipscomb pushed Towner into the
exercise yard and participated in the verbal abuse of Towner. Captain Campbell asked
FTO Lipscomb if the actions on Towner were within Department policy and he stated
that it was not.
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Captain Campbell asked FTO Lipscomb the reason why he had waited until
seventeen days (November 29, 2004) later to report this incident. FTO Lipscomb gave
no reason for the delay. Captain Campbell asked FTO Lipscomb regarding his report that
he asked Set. Mathis, Shift Supervisor, the reason why he was not involved with the
incident with Inmate Towner. According to FTO Lipscomb’s report, he stated that Sgt.
Mathis stated deniably, ‘I don’t know what you’re talking about.’ FTO Lipscomb stated
that when he asked Sgt. Mathis about the incident, Sgt. Mathis told him he didn’t know
what he was talking about but it was FTO Lipscomb’s opinion that Sgt. Mathis did know.
Captain Campbell asked FTO Lipscomb the reason he thought Sgt. Mathis knew about
the incident and he stated that he just believed that he did. Captain Campbell asked FTO
Lipscomb if the actions on Towner were within Department policy and he stated that it
was not.

On December 7, 2004, Captain Campbell interviewed Deputy Jeff Brawner
regarding the incident of November 12, 2004. Deputy Brawner stated that during the
night shift, he was assigned as R-1, the roving officer. He stated that during the shift, he
went into the recreation yard of B Block to smoke a cigarette. He stated that some
officers came into the recreation yard including Deputies Necaise, Branning, Minor, Cox
and Lipscomb. Deputy Brawner stated that Inmate Towner came running through the
door into the recreation. yard followed by Deputies Cox, Lipscomb and Minor, and fell
down on the deck. Deputy Brawner stated he and the other officers yelled and berated
Towner for assaulting an officer. Deputy Brawner stated that their actions were meant to
be a scare tactic and none of the officers kicked or struck Inmate Towner. Deputy
Brawner stated this mcident lasted less than two minutes. Captain Campbell asked
Deputy Brawner if the actions or: Towner were within Department policy and he stated
that if was not. .

On December 17, 2004, Captain Campbell interviewed Deputy Justin Branning
regarding the meident of November 12, 2004. Deputy Branning stated that he was
assigned the night shift in booking and sometime during the shift; Deputy Necaise told
hun that he was going to B Block and Deputy Branning stated he followed Deputy
Necaise. Captain Campbell asked Deputy Branning the reason he followed Deputy
Necaise and he stated that anytime anyone went to B Block during a shift, he knew
something was going on so he ‘tagged along.’

Deputy Branning stated that earlier in the evening during shift briefing, he learned that
Inmate Joseph Towner had assaulted Deputy Archer. He stated that as he went into the
exercise yard of B Block, he saw Deputy Brawner, then Deputies Cox, Lipscomb, and
Minor came into the exercise yard behind Inmate Joseph Towner. Deputy Branning
stated that Inmate Towner fell to the deck and the officers surrounded him and began to
yell at him and chastise him verbally for striking an officer. Deputy Branning stated that
none of the officers hit, kicked or punched Inmate Towner. Captain Campbell asked
Deputy Branning if the actions on Towner were within Department policy and he stated
that it was not.

On December 16, 2004, at the instructions of Sheriff Payne, Captain Campbell
telephoned FBI Special Agent Dwight Johnson regarding the incident with Inmate J oseph
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Towner. S/A Johnson stated he would come to the Harrison County Adult Detention
Center and interview Inmate Towner during the afternoon.

Approximately 1:00 p.m., Captain Campbell requested Captain Taylor have
Inmate Joseph Towner brought to the attorney’s office in the court located in the Adult
Detention Center. Captain Campbell met with Inmate Towner and asked Inmate Towner
to write a statement regarding the incident in which he had, been taken into the exercise
yard and allegedly assaulted by the officers. Captain Campbell instructed Inmate Towner
to take his time and write everything he believed was important for Captain Campbell to
know about the incident. Captain Campbell told Inmate Towner that he had been directed
by the Sheriff to investigate the allegations against the officers.

Approximately 2:30 p.m., S/A Dwight Johnson came to the Harrison County

Adult Detention Center and met with Captain Campbell, Captain Campbell explained the
allegations made against the officers and gave S/A Johnson a copy of the statement
written by Inmate Towner. Captain Campbell then escorted S/A Johnson to the attorney

room where he could interview Inmate Joseph Towner. After S/A Johnson finished his
interview with Inmate Towner, he told Captain Campbell that he would meet with the U.
S. Atforney’s Office to determme tfhe should investigation these allegations of excessive
use of force by said officers. S/A Johnson stated that he had problems with the
iruthfniness of Inmate Towner.

On December 17, 2004, Captain Campbell interviewed Deputy Michael Minor
who was also involved in the incident with Inmate Towner. Deputy Minor stated he
exttered B Block dunag the night shift and had escorted an inmate to be locked down. He
stated he noticed other officers in the exercise yard and a few minutes later observed two
more officers escorting Inmate Towner toward the exercise yard. Deputy Minor stated
thai when Immate Towner come out of D section to get his property, Towner began
cursing at the alficers. Deputy Mimor stated that after he observed Deputy Cox and FTO
Lipscomb go into the exercise yard, he observed FTO Lipscomb push Inmate Towner
into the exercise yard and Deputy Minor followed. Deputy Minor stated that Inmate
Towner was on the deck crying and balled up and the officers surrounded Towner
chastising him verbally for assaulting an officer. Deputy Minor stated that none of the’
officers struck, kicked or punched Inmate Towner. Deputy Minor stated that after
approximately a minute, Inmate Towner was escorted out of the exercise yard and back
into his section. Captain Campbell asked Deputy Minor if the actions on Towner were
within Department policy and he stated that it was not.

On December 22, 2004, Captain Campbell interviewed Inmate Joseph Towner
regarding the incident of November 12, 2004. Captain Campbell had obtained the
statement written by Inmate Joseph Towner on December 16, 2004, which contained 2 %
pages. Captain Campbell interviewed Inmate Towner regarding the incident. Towner
stated that at approximately 3:00 a.m. on the morning of November 12, 2004, he was
taken into the exercise yard and approximately ten officers jumped on him, beat him and
kicked him and punched him in the face because he had a confrontation with Deputy
Archer earlier in the evening. Captain Campbell asked Inmate Towner if he was certain
the officers did, in fact, kick him and punch him and he stated they did. Captain
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Campbell asked Inmate Towner the reason he did not include those specifics in his
statement and he stated that the officers jumped on him. However, it should be noted that
Inmate Towner statement of 2 4 pages included approximately two pages about the
incident with Deputy Archer earlier in the evening and only % page about the alleged
assault in the exercise yard. It should also be noted that Inmate Towner showed Captain
Campbell a scar he allegedly received in the incident on November 12, 2004 on his arm.
Captain Campbell observed the scar as appearing to be several months old, but Towner
stated that he received the scar during the confrontation with the officers.

Inmate Towner further stated the next day after the incident; he talked with Set.
Collins and told Sgt. Collins about the officers jumping on him, It should be noted that
Sgt. Collins had not prepared a report to indicate this conversation. Inmate Towner
further stated the next day after the incident; he went to medical and was treated by the
medical staff and also met with Captain Taylor and Deputy Geas. It should be noted that
according to Captain Taylor’s report and Deputy Geas’ report, they did not meet with
Inmate Towner until November 23, 2004 some eleven days after the alleged incident.

On December 22, 2004, Captain Campbell went to the medical department to
review the medical files on Inmate Joseph Towner. According to the medical files, on
November 19, 2004, Towner was seen by a nurse complaining of pain in his back.
According to the notes written on the medica! chart, the nurse stated that there were no
bruises or lacerations found on Inmate Towner. In addition, it was noted that on
November 22, 2004, Inmate Towner was seen by the attending physician, who also stated
that he saw no mjuries, but gave Inmate Towner some Ibuprofen.

Findings and Cenclusiens.

was concluded from this investigation that during the early morning hours of
Noventer 1 20 104, Deputies Lipscomb, Necaise, Brawner, Minor, Branning and Cox
isolated’ Inmate Joseph Towner in the exercise yard of B Block. It was further concluded
that the officers verbally harassed and verbally abused Inmate Towner because of ah
incident, which occurred between Inmate Towner and Deputy Archer earlier that
evening. By their own admission, these deputies did verbally abuse Inmate Towner in
retaliation for Towner’s attack on Deputy Archer and that the officers admitted that their
actions were not in Department policy.

It was further concluded there was no evidence to sustain the allegation that the
officers physically assaulted Inmate Towner with respect to kicking, punching, or hitting
Towner. The medical notes regarding Inmate Towner’s visit with the nursé on November
19, 2004, where he complained of being assaulted by officers on November 12, 2004,
revealed no cuts, bruises or scratches observed by the attending nurse and physician. This
reinforced Captain Campbell’s observation of the scar on Towner’s right forearm, which
Captain Campbell believed to be an old scar.

It was also concluded that during the interview with Inmate Towner, that Towner
was dishonest with Captain Campbell. Inmate Towner was allowed approximately one
hour to write a statement regarding the incident in which he was allegedly assaulted. The
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statement consisted of 2 4 pages, or 62 lines. Approximately 87% (54 lines) of the
statement related to the incident with Deputy Archer, where Towner was accused of
assaulting Deputy Archer. Only 10 % (6 lines) of the statement related to the alleged
assault by the officers. It should be noted that in Towner’s statement, he did not state that
any officer hit, punched or kicked him. An analysis of the majority of Towner’s statement
was an attempt by Towner to justify the reason he hit Deputy Archer earlier that evening.
It was concluded that Towner was not concerned about the alleged physical assault,
because it did not occur, however; it is believed that his focus was to attempt to justify his
assault on Deputy Archer because he would possibly face criminal charge.

In Towner’s statement it is interesting to note that during the first two pages, he
mentioned that he hit Deputy Archer with his fist and Deputy Archer also hit him with his
fist. No mention or description of any type of blows from the incident in the exercise
yard was ever given by Towner. Inmate Towner’s explanation to Captain Campbell for
this mconsistency was that he would only mention specific punches or blows or kicks if
there was one inmate and one deputy fighting and if several officers jumped on him and
punched bim or kicked him, he would only refer to that as ‘being jumped on.’ This
explanation is unbelievable at best.

lt was also concluded frora this investigation that although Deputies Branning,
Bravner, Cox, Mimar and Necaise stated that FTO Lipscomb took part in the entire
verval aouse on Towner, no one heard FTO Lipscomb state that he attempted to end the
alleged assault. FTO Lipscomb attempted to portray his role as taking no part in the
aileged assault and it was he who stopped the assault. In addition, it was interesting to
mote that FTO Lipscomb wrote a narrative on the incident and reported it to Captain
Taylor 17 days after it occurred. One may conclude that FTO Lipscomb’s actions
regarding his manner of reporting the incident was an attermpt to lessen his participation
and show his concern by attempting to stop the incident. This may had been because he
was the senter officer present during the incident. .

it was finally concluded that the above mentioned officers violated General
Order 1-5.5 “... and shail guard against using his office or person, whether knowingly
or unknowingly, in any improper or illegal action...’ and General Order 1, “The Law
Enforcement Code of Ethics”, “7 will never act officiously or permit personal feelings,
prejudices, animosities or friendships to influence my decision....”’. It is further
concluded that the above mentioned officers violated Harrison County Adult Detention
Center Policy and Procedures entitled General Rules of Conduct “ Employees will
treat inmates with courtesy, dignity, and respect at all times”. The allegations that these
officers violated the above mentioned policy is SUSTAINED; however, the allegations
that the officers used physical force with respect to kicking, punching, or hitting Inmate
Joseph Towner is UNFOUNDED.

| Report By: Reviewing Supervisor " )
Sheriff George Payne

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HARRISON COUNTY
SHERIFFE’S DEPARTMENT

~ Post Office Box. 1480
George H. Fague, $n, Gulfport, Mississippi 39502
Sheriff

January 31, 2005

Officer Martin Lipscomb

Harrison County Adult Detention Center
10451 Larkin Smith Drive

Gulfport, MS 39503

LETTER OF DISCIPLINARY ACTION

Dear Officer Lipscomb:

An Administrative Hearing was held on January 7, 2005, in response to the charge of violating
General Order # 1,4, 4.6 and 1,5, 5.5. Specifically, on November 12, 2004, you participated in
an inappropriate demonstration against Inmate Joseph Towner, whereby the inmate was placed

on the recreation yard and reprimanded regerding an earlier assault on an officer.

You eppeared at that hearing and after weighing the evidence against you, the following
disciplinary action will be taken:

* You are hereby suspended for five davs without pay

° You are hereby removed for FTO status

The above sanction will be scheduled at the discretion of the Director of Corrections. Be

advised, should any future violations of this type occur, further disciplinary actions will be taken
up to an including termination. You have fifteen days if you desire to appeal these actions to the
Civil Service Commission.

ce: Civil Service Commission

Personne! File
Major Riley EXHIBIT

wise

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HARRISON COUNTY
SHERIFF’S DEPARTMENT

Post Office Box 1480

George a. Pagyue, $n, Gulfport, Mississippi 39502
1eriy

January 31, 2005

Officer Michael Minor

Harrison County Adult Detention Center
10451 Larkin Smith Drive

Gulfport, MS 39503

LETTER OF DISCIPLINARY ACTION
Dear Officer Minor:
An Aamurzsstrative Hearing was held. on January 7, 2005, im response to the charge of violating
General Order # 1, 4, 4.6 and 1,5, 5.5. Specifically, on November 12, 2004, you participated in

an inappropriate demonstration against Inmate Joseph Towner, whereby the inmate was placed
on the recreation yard and reprimanded regarding an sarlier assault on an officer

*

You appeared at that hearing and after weighing the evidence against you, the following
disciplinary action will be taken:

e You are hereby suspended for five days without pay

The above sanction will be scheduled at the discretion of the Director of Corrections. Be
advised, should any future violations of this type occur, further disciplinary actions will be taken
up to an including termination. You have fifteen days if you desire to appeal these actions to the
Civil Service Commission.

Sincerely,

George H
Sheriff

cc! Civil Service Commission
Personnel File
. Major Riley

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HARRISON COUNTY
SHERIFF’S DEPARTMENT

° Post Office Box 1480
Gearge #, Payue, br, Gulfport, Mississippi 39502
Sheriff

January 31, 2004

Officer Jerred Necaise

Harrison County Adult Detention Center
10451 Larkin Smith Drive

Gulfport, MS 39503

LETTER OF DISCIPLINARY ACTION

Dear Officer Necaise:

An Administrative Hearing was held on January 7, 2005, in response to the charge of violating
General Order = 1, 4, 4.6 and 1,5,5.5. Specifically, on November 12, 2004, you participated in
an inappropriate demonstration against Inmate Joseph Towner, whereby the inmate was placed
on the recreation yard and reprimanded regarding an earlier assault on an officer.

You appeared at that hearing and after weighing the evidence against you, the following
disciplinary action will be taken:

° You are hereby suspended for five days without pay

The above sanction will be scheduled at the discretion of the Director of Administration. Be
advised, should any future violations of this type occur, further disciplinary actions will be taken
up to an including termination. You have fifteen days if you desire to appeal these actions to the
Civil Service Commission.

co: Civil Service Commission _ J
Personnel File ’
Major Smith

- RNS Nee ome

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Case 1:07-cv-01205-LG-RHW Document 300-7 Filed 11/13/09 Page 46 of 47

HARRISON COUNTY
SHERIFF’S DEPARTMENT

Post Office Box 1480
Gulfport, Mississippi 39502

January. 31, 2005

Officer Jeffrey Brawner
Harrison County Sheriff's Dept.
10451 Larkin Smith Drive
Gulfport, MS 39503

WRITTEN REPRIMAND

Dear Officer Brawner:

An asimimistrative hearing was held in response to the charge of Unacceptable Behavior,
General Order #1, Section 4, 4.6 (.e., Violation of Department/General Rules of
Conduct} and General Order #1, 5, 5.5. Specifically, on November 12, 2004, you
participated in an inappropriate demonstration against Inmate Joseph Towner, whereby
the inmate was placed on the recreation yard and reprimanded regarding an earlier assault

on an officer.

The following disciplinary action will be taken against you:
* You are hereby served with an official written reprimand

Be advised, if any future violations of this type occur, further disciplinary actions will be
taken up to an including termination.

cc:  Persotinel File
Major Riley

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HARRISON COUNTY
SHERIFF’S DEPARTMENT

Post Office Box: 1480
Gulfport, Mississippi 39502

January 31, 2005
Officer Justin Branning
Harrison County Sheriff's Dept.
10451 Larkin Smith Drive
Gulfport, MS 39503
WRITTEN REPRIMAND

Dear Officer Branning:

An adumimistrative hearing was held in response to the charge of Unacceptable Behavior,
General Order #1, Section 4, 4.6 (Le., Violation of Department/General Rules of
Conduct) and General Order #1, 5, 5.5. Specifically, an November 12, 2004, you
participated! in an inappropriate demonstration against Inmate Joseph Towner, whereby

the immate was placed on the recreation yard and reprimanded regarding an earlier assault
on an officer.

The following disciplinary action will be taken against you:
* You are hereby served with an official written reprimand

Be advised, if any future violations of this type occur, further disciplinary actions will be
taken up to an including termination.

Sincerely, |

ce: Personnel File
Major Riley

Trrenatch: £9ORS BASTING

OSE: (IIRY RAS-7997 Far $998) 265-7071
